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IN THE UNITED sTATEs DISTRICT coUR'r 05 §
FOR THE WESTERN DISTRICT oF TENNESSEE tit/g Qp
EASTERN DIvIsIoN / ~<

UNITED STATES OF AMERICA

 

VS. Case No. l:O3-lOO90-T

HEATHER MICHELLE LEE

AMENDED ORDER TO SURRENDER

Defendant, Heather Michelle Lee, #19637-076, having been sentenced in the
above styled matter to the custody of the Bureau of Prisons, and having been granted
leave by the Court report to the designated institution at her own expense, is hereby
ordered to surrender herself to the Bureau of Pn`sons by reporting to: Lexington FMC,
SCP, 3301 Leestown Road, Lexington, KY 405]1; 859-255-6812; no later than 12:00
Noon on Monday, July 18, 2005.

It is further ordered that upon receipt of a copy of this order, the defendant shall
sign and return the copy, to acknowledge receipt of said order and that he Will report as
directed to the above named institution.

IT IS SO ORDERED.

JAME .`ToDD
UNIT sTATEs DIsTRicTJUDGE

DATE: §§ Z)A’Nt S'Mg"

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Notice of Distribution

This notice confirms a copy ofthc document docketed as number 54 in
case 1:03-CR-10090 vvas distributed by faX, mail, or direct printing on
J unc 2l , 2005 to the parties listcd.

 

 

April Rose Goode

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U.S. ATTORNEY
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Honorable J ames Todd
US DISTRICT COURT

